        4:13-cv-00887-MGL            Date Filed 04/03/13   Entry Number 1        Page 1 of 6




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                 FLORENCE DIVISION
                                                   :
Karen Woodward,                                    :
                                                   :
                        Plaintiff,                 : Civil Action No.: ____________
        v.                                         :
                                                   : COMPLAINT AND DEMAND FOR
GC Services, L.P.; and DOES 1-10, inclusive,       : JURY TRIAL
                                                   :
                        Defendants.                :
                                                   :
                                                   :

        For this Complaint, the Plaintiff, Karen Woodward, by undersigned counsel, states as

follows:

                                           JURISDICTION

        1.      This action arises out of Defendants’ repeated violations of the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”) and the invasions of Plaintiff’s

personal privacy by the Defendant and its agents in their illegal efforts to collect a consumer

debt.

        2.      Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

        3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that the

Defendants transact business in this District and a substantial portion of the acts giving rise to

this action occurred in this District.

                                              PARTIES

        4.      The Plaintiff, Karen Woodward (“Plaintiff”), is an adult individual residing in

Myrtle Beach, South Carolina, and is a “consumer” as the term is defined by 15 U.S.C. §

1692a(3).
       4:13-cv-00887-MGL         Date Filed 04/03/13       Entry Number 1        Page 2 of 6




       5.      Defendant GC Services, L.P. (“GC”), is a Texas business entity with an address

of 6330 Gulfton Street, Houston, Texas 77081, operating as a collection agency, and is a “debt

collector” as the term is defined by 15 U.S.C. § 1692a(6).

       6.      Does 1-10 (the “Collectors”) are individual collectors employed by GC and

whose identities are currently unknown to the Plaintiff. One or more of the Collectors may be

joined as parties once their identities are disclosed through discovery.

       7.      GC at all times acted by and through one or more of the Collectors.

                     ALLEGATIONS APPLICABLE TO ALL COUNTS

   A. The Debt

       8.      A person other than the Plaintiff allegedly incurred a financial obligation (the

“Debt”) to an original creditor (the “Creditor”).

       9.      The Debt arose from services provided by the Creditor which were primarily for

family, personal or household purposes and which meets the definition of a “debt” under 15

U.S.C. § 1692a(5).

       10.     The Debt was purchased, assigned or transferred to GC for collection, or GC was

employed by the Creditor to collect the Debt.

       11.     The Defendants attempted to collect the Debt and, as such, engaged in

“communications” as defined in 15 U.S.C. § 1692a(2).

   B. GC Engages in Harassment and Abusive Tactics

       12.     Beginning in or around December 2012, Defendants started contacting Plaintiff in

an attempt to collect the Debt by placing two calls daily to Plaintiff’s cellular phone.

       13.     The Debt does not belong to Plaintiff.

       14.     During conversations, Defendants stated it was looking for a person by the name

of Susan Keller.

                                                    2
       4:13-cv-00887-MGL          Date Filed 04/03/13      Entry Number 1        Page 3 of 6




        15.     On several occasions, Plaintiff explained to Defendants that she was not who they

were looking for and requested that Defendants cease all calls to Plaintiff regarding the Debt.

        16.     In response, Defendants rudely and repeatedly told Plaintiff she was a liar.

        17.     Additionally, Plaintiff informed Defendants she had retained legal representation

and provided her attorney’s contact information.

        18.     Despite this, Defendants have proceeded to place additional calls to Plaintiff in its

collection efforts.

        19.     Furthermore, Defendants continued to hound Plaintiff with telephone calls in its

attempt to collect the Debt despite their knowledge that the Debt does not belong to Plaintiff, that

she has no responsibility to satisfy the Debt, and that she has no intention of satisfying the Debt.

    C. Plaintiff Suffered Actual Damages

        20.     The Plaintiff has suffered and continues to suffer actual damages as a result of the

Defendants’ unlawful conduct.

        21.     As a direct consequence of the Defendants’ acts, practices and conduct, the

Plaintiff suffered and continues to suffer from humiliation, anger, anxiety, emotional distress,

fear, frustration and embarrassment.

                                             COUNT I

         VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT –
                            15 U.S.C. § 1692, et seq.

        22.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

        23.     The Defendants’ conduct violated 15 U.S.C. § 1692c(a)(2) in that Defendants

contacted the Plaintiff after having knowledge that the Plaintiff was represented by an attorney.




                                                  3
      4:13-cv-00887-MGL          Date Filed 04/03/13      Entry Number 1         Page 4 of 6




       24.     The Defendants’ conduct violated 15 U.S.C. § 1692d in that Defendants engaged

in behavior the natural consequence of which was to harass, oppress, or abuse the Plaintiff in

connection with the collection of a debt.

       25.     The Defendants’ conduct violated 15 U.S.C. § 1692d(2) in that Defendants used

abusive language when speaking with the Plaintiff.

       26.     The Defendants’ conduct violated 15 U.S.C. § 1692d(5) in that Defendants caused

a phone to ring repeatedly and engaged the Plaintiff in telephone conversations, with the intent to

annoy and harass.

       27.     The Defendants’ conduct violated 15 U.S.C. § 1692f in that Defendants used

unfair and unconscionable means to collect a debt.

       28.     The foregoing acts and omissions of the Defendants constitute numerous and

multiple violations of the FDCPA, including every one of the above-cited provisions.

       29.     The Plaintiff is entitled to damages as a result of Defendants’ violations.

                                            COUNT II

                    WRONGFUL INTRUSION INTO PRIVATE AFFAIRS

       30.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       31.     South Carolina state law recognizes the Plaintiff’s right to be free from invasions

of privacy in such a manner as to outrage or cause serious mental suffering, shame, and

humiliation to Plaintiff; thus, the Defendants violated South Carolina state law.

       32.     The Defendants intentionally intruded upon Plaintiff’s right to privacy by

continually harassing the Plaintiff with the above-referenced telephone calls.




                                                 4
      4:13-cv-00887-MGL            Date Filed 04/03/13        Entry Number 1         Page 5 of 6




          33.    The telephone calls made by the Defendants to the Plaintiffs were so persistent

and repeated with such frequency that they caused serious mental suffering, shame, and

humiliation to Plaintiff thus satisfying the state law requirement for an invasion of privacy.

          34.    The conduct of the Defendants in engaging in the illegal collection activities

demonstrated blatant and shocking disregard of Plaintiff’s rights and resulted in multiple

invasions of privacy in such a way as would be considered highly offensive to a reasonable

person.

          35.    As a result of the intrusions and invasions, the Plaintiff is entitled to actual

damages in an amount to be determined at trial from the Defendants.

          36.    All acts of the Defendants and its agents were committed with malice, intent,

wantonness, and recklessness, and as such, the Defendants are subject to imposition of punitive

damages.

                                        PRAYER FOR RELIEF

          WHEREFORE, the Plaintiff prays that judgment be entered against the Defendants:

                     1. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against the Defendants;

                     2. Statutory damages of $1,000.00 pursuant to 15 U.S.C. §1692k(a)(2)(A)

                         against the Defendants;

                     3. Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C. §

                         1692k(a)(3);

                     4. Actual damages from the Defendants for all damages including emotional

                         distress suffered as a result of the intentional, reckless, and/or negligent

                         FDCPA violations and intentional and/or reckless invasions of privacy in an

                         amount to be determined at trial for the Plaintiff;



                                                     5
      4:13-cv-00887-MGL         Date Filed 04/03/13      Entry Number 1         Page 6 of 6




                  5. Punitive damages; and

                  6. Such other and further relief as may be just and proper.

                       TRIAL BY JURY DEMANDED ON ALL COUNTS

Dated: April 3, 2013

                                             Respectfully submitted,


                                             By

                                             Brian J. Headley, Attorney at Law
                                             District of South Carolina Bar ID No. 11427
                                             145 Historic Drive
                                             Mount Pleasant, SC 29464
                                             Telephone: (855) 301-2100 Ext. 5532
                                             Facsimile: (888) 953-6237
                                             bjheadley@yahoo.com
                                             bheadley@lemberglaw.com

                                             Of Counsel To
                                             Sergei Lemberg
                                             LEMBERG & ASSOCIATES L.L.C.
                                             A Connecticut Law Firm
                                             1100 Summer Street, 3rd Floor
                                             Stamford, CT 06905
                                             Telephone: (203) 653-2250
                                             Facsimile: (888) 953-6237




                                                  6
